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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE
 ____________________________________
                                      )
 UNITED STATES OF AMERICA             )
                                      )
             v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                      )
 ROBERT HUNTER BIDEN,                 )
                                      )
             Defendant.               )
                                      )
 ____________________________________)


                         MR. BIDEN’S NOTICE OF PARDON




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                                        INTRODUCTION

        Defendant Robert Hunter Biden respectfully provides notice of a Full and Unconditional

 Pardon that requires dismissal of the Indictment against him (D.E. 40) with prejudice and

 adjournment of all future proceedings in this matter. This notice is made because on December

 1, 2024, the President of the United States of America, Joseph R. Biden, Jr., issued a full and

 unconditional pardon to Mr. Biden,1 which he has accepted for, inter alia, the offenses specified

 in the Indictment in this case, No. 1:23-cr-00061-MN. A declaration confirming Mr. Biden’s

 receipt and acceptance of the pardon is submitted to the Court as Exhibit A. The President’s

 pardon moots Mr. Biden’s pending and yet to occur sentencing and entry of judgment in this case

 and requires an automatic dismissal of the Indictment with prejudice. See United States v. Wilson,

 32 U.S. 150, 160 (1833) (“A pardon is an act of grace, . . . which exempts the individual, on whom

 it is bestowed, from the punishment the law inflicts for a crime he has committed.”) (Marshall,

 C.J.); see also United States v. Flynn, 507 F. Supp. 3d 116, 136 (D.D.C. 2020) (“Once accepted,

 a full and absolute pardon ‘releases the wrongdoer from punishment and restores the offender’s

 civil rights without qualification.’”) (quoting Absolute Pardon, Black’s Law Dictionary (10th ed.

 2014)).

        When alerted to a pardon by a defendant (or the government), courts dismiss pending

 indictments and adjourn future proceedings in those cases. See United States v. Bannon, No. 20

 Cr. 00412-AT (S.D.N.Y. May 25, 2021), D.E. 117; United States v. Zangrillo, No. 19 Cr. 10080-

 19 (D. Mass. Feb. 10, 2021), D.E. 1725; United States v. Kurson, No. 20 Mag. 990-RML

 (E.D.N.Y. Feb. 4, 2021), D.E. 6; United States v. Carter, No. 20 Cr. 20222-KMW (S.D. Fla. Feb.




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  White House Briefing Room, Statement from President Joe Biden, https://www.whitehouse.gov/briefing-
 room/statements-releases/2024/12/01/statement-from-president-joe-biden-11/ (Dec. 1, 2024).
                                                  1
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 1, 2021), D.E. 23; United States v. Flynn, No. 17 Cr. 00232-EGS (D.D.C. Dec. 8, 2020), D.E. 311;

 United States v. Arpaio, No. 16 Cr. 01012-SRB (D. Az. Oct. 4, 2017), D.E. 243, 251 (dismissing

 case with prejudice and vacating the pending sentencing hearing where defendant was issued a

 presidential pardon after his conviction but prior to being sentenced); see also United States v.

 Schaffer, 240 F.3d 35, 37–38 (D.C. Cir. 2001) (dismissing as moot a case where defendant was

 pardoned between the district court ordering a retrial and convening the new trial). Accordingly,

 dismissal of the Indictment with prejudice and adjourning any future proceedings and entry

 judgment in this matter is now required.

                                            CONCLUSION

        For the reasons stated above, this Court must dismiss the Indictment against Mr. Biden

 with prejudice and adjourn all future proceedings in this matter. A Proposed Order is submitted

 along with this notice.




 Dated: December 1, 2024                       Respectfully submitted,

                                               /s/ Abbe David Lowell
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2024, I filed the foregoing with the Clerk of Court

 using the CM/ECF system, which will send a notification of such filing to all counsel of record.


                                                     /s/ Abbe David Lowell
                                                     Abbe David Lowell

                                                     Counsel for Robert Hunter Biden




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